   Case 2:22-cv-00094-Z Document 65 Filed 06/24/22                   Page 1 of 5 PageID 712



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION


                                               )
STATE OF TEXAS,                                )
                                               )
       Plaintiff,                              )
                                               )
       v.                                      )       Civil Action No. 2:22-cv-00094-Z
                                               )
 ALEJANDRO MAYORKAS,                           )
 in his official capacity as                   )
 Secretary of Homeland Security, et al.,       )
                                               )
       Defendants.                             )
                                               )


                         JOINT MOTION TO EXTEND SCHEDULE

       The parties jointly request that the Court extend the deadlines to complete jurisdictional

discovery and for the Parties to submit updated proposals for additional briefing and proceedings

by 14 days, to allow the Parties time to fully respond to the jurisdictional discovery that has already

been served.

       On May 31, 2022, the Court set the following deadlines for this case:

               Defendants to produce the administrative record on or before June 3, 2022;

               Parties to send all jurisdictional discovery requests on or before June 15, 2022;

               Parties to complete all jurisdictional discovery on or before July 1, 2022;

               Parties to submit updated proposals for additional briefing and proceedings on or

                before July 6, 2022.

May 31 Order, ECF No. 60.




                                                   1
    Case 2:22-cv-00094-Z Document 65 Filed 06/24/22                  Page 2 of 5 PageID 713



       Defendants produced the administrative record on June 3, 2022. And the Parties served

jurisdictional discovery by the June 15, 2022 deadline. On June 7, 2022, Defendants served Texas

with a deposition notice under Rule 30(b)(6). On June 10, 2022, Defendants served Texas with

written discovery requests. On June 15, 2022, Texas served Defendants with written discovery

requests.

       The Parties now jointly request a short 14-day extension to allow the Parties to complete

the discovery that has already been served. The Parties are working on collecting documents and

preparing responses, but would benefit from additional time to ensure that they can provide

thorough and complete responses. Texas also has not yet been able to identify deponent(s) and

proposed dates in response to the June 7 deposition notice, and the Parties will need additional

time to schedule and complete that deposition or depositions after Texas identifies the proper

deponents and can provide their availability.1

       If the Court grants this short extension, the remaining deadlines from the Court’s May 31

order will be:

                Parties to complete all jurisdictional discovery on or before July 15, 2022;

                Parties to submit updated proposals for additional briefing and proceedings on or

                 before July 20, 2022.

The Parties jointly request that the Court grant this short extension.




1
  The Parties are hopeful that they can identify agreed-upon dates to complete the depositions
before July 15, 2022. However, given the press of other business, including preexisting deadlines
and scheduled depositions arising from expedited discovery taking place in other matters during
the same time period, if the deponents have limited availability it may be difficult to do so. The
Parties will confer once Texas identifies deponents and their availability to try to work out a
schedule for completing this discovery prior to July 15, and will advise the Court if they are unable
to do so.
                                                  2
   Case 2:22-cv-00094-Z Document 65 Filed 06/24/22        Page 3 of 5 PageID 714



Dated: June 24, 2022                      Respectfully submitted,

                                          BRIAN M. BOYNTON
                                          Principal Deputy Assistant Attorney General

                                          WILLIAM C. PEACHEY
                                          Director
                                          Office of Immigration Litigation
                                          District Court Section

                                          EREZ REUVENI
                                          Assistant Director

                                          /s/ Brian C. Ward
                                          BRIAN C. WARD
                                          Senior Litigation Counsel
                                          U.S. Department of Justice
                                          Civil Division
                                          Office of Immigration Litigation
                                          District Court Section
                                          P.O. Box 868, Ben Franklin Station
                                          Washington, DC 20044
                                          Tel.: (202) 616-9121
                                          brian.c.ward@usdoj.gov

                                          Counsel for Defendants




                                      3
Case 2:22-cv-00094-Z Document 65 Filed 06/24/22     Page 4 of 5 PageID 715



KEN PAXTON                             AARON F. REITZ
Attorney General of Texas              Lead Counsel
                                       Deputy Attorney General for Legal Strategy
BRENT WEBSTER                          Texas Bar No. 24105704
First Assistant Attorney General       aaron.reitz@oag.texas.gov

OFFICE OF THE ATTORNEY GENERAL         LEIF A. OLSON
P.O. Box 12548                         Special Counsel
Austin, Texas 78711-2548               Texas Bar No. 24032801
(512) 936-1700                         leif.olson@oag.texas.gov

                                       GENE P. HAMILTON
                                       America First Legal Foundation
                                       300 Independence Avenue SE
                                       Washington, DC 20003
                                       (202) 964-3721
                                       gene.hamilton@aflegal.org

                                       Counsel for Plaintiff




                                   4
   Case 2:22-cv-00094-Z Document 65 Filed 06/24/22                  Page 5 of 5 PageID 716




                               CERTIFICATE OF CONFERENCE

        I hereby certify that on June 24, 2022, I conferred with counsel for Plaintiff about the

relief requested in this motion. Plaintiff joins this request.

                                                /s/ Brian C. Ward
                                                BRIAN C. WARD
                                                U.S. Department of Justice




                                  CERTIFICATE OF SERVICE

        I hereby certify that on June 24, 2022, I electronically filed this motion with the Clerk of

the Court for the United States District Court for the Northern District of Texas by using the

CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.

                                                /s/ Brian C. Ward
                                                BRIAN C. WARD
                                                U.S. Department of Justice




                                                   5
